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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.


  ENRIQUE ALVEAR,

         Plaintiff,

  vs.

  IKEA NORTH AMERICA
  SERVICES, LLC, a foreign
  limited liability company,

        Defendant.
  _______________________________/

                                            COMPLAINT

         Plaintiff ENRIQUE ALVEAR, through undersigned counsel, sues Defendant IKEA

  NORTH AMERICA SERVICES, LLC, a foreign limited liability company, and alleges as follows:

         1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

  with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331 and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief

  pursuant to 28 U.S.C. §§2201 and 2202.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff ENRIQUE ALVEAR is a resident of Miami, Florida is sui juris, and is

  disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101

  (“ADAAA”).

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         5.      Plaintiff is and at all relevant times has been a blind and visually disabled person

  who has been diagnosed with complete blindness as a result of retinal detachment to both eyes.

  Because of his condition, Plaintiff is currently blind and is substantially limited in performing one

  or more major life activities, including, but not limited to, sight, accurately visualizing his world,

  and adequately traversing obstacles. As such, he is a member of a protected class under the ADA,

  42 U.S.C. §12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR §§36.101, et

  seq., and 42 U.S.C. §3602(h).

         6.      Because he is blind, Plaintiff cannot use his computer without the assistance of

  appropriate and available auxiliary aids, screen reader software, and other technology and

  assistance. Screen reader software translates the visual internet into an auditory equivalent. At a

  rapid pace, the software reads the content of a webpage to the user. “The screen reading software

  uses auditory cues to allow a visually impaired user to effectively use websites. For example, when

  using the visual internet, a seeing user learns that a link may be ‘clicked,’ which will bring him to

  another webpage, through visual cues, such as a change in the color of the text (often text is turned

  from black to blue). When the sighted user's cursor hovers over the link, it changes from an arrow

  symbol to a hand. The screen reading software uses auditory -- rather than visual -- cues to relay

  this same information. When a sight impaired individual reaches a link that may be ‘clicked on,’

  the software reads the link to the user, and after reading the text of the link says the word

  ‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the visually

  impaired user can navigate a website by listening and responding with his keyboard.” Andrews v.

  Blick Art Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).

         7.      Defendant is a foreign limited liability company authorized to do business and

  doing business in the State of Florida. Defendant owns, operates, and/or controls a chain of retail



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  stores selling functional home furnishings and accessories, including one of the stores Plaintiff

  intended to patronize in the near future located at 1801 NW 117th Avenue, Sweetwater, Florida.

         8.      Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

         9.      Plaintiff frequently accesses the internet. Because he is blind, to effectively

  communicate and comprehend information available on the internet and thereby access and

  comprehend websites, Plaintiff uses commercially available screen reader software to interface

  with the various websites.

         10.     At all times material hereto, Defendant was and still is an organization that owns

  and operates a chain of retail stores selling functional home furnishings and accessories under the

  name “IKEA”. Each IKEA store is open to the public. As the owner and operator of these stores,

  Defendant is defined as a place of “public accommodation" within meaning of the ADA because

  Defendant is a private entity which owns and/or operates “a bakery, grocery store, clothing store,

  hardware store, shopping center, or other sales or rental establishment,” per 42 U.S.C.

  §12181(7)(E) and 28 C.F.R. §36.104(2).

         11.     Because Defendant is a store open to the public, each of Defendant’s physical stores

  is a place of public accommodation subject to the requirements of the ADA, 42 U.S.C. §12182,

  §12181(7)(E), and its implementing regulations, 28 C.F.R. Part 36.

         12.     Defendant also owns, controls, maintains, and/or operates an adjunct website,

  https://www.ikea.com (the “Website”). One of the functions of the Website is to provide the public

  information on the locations of Defendant’s stores through a “store locator” feature. Defendant

  also sells to the public its merchandise through the Website, which acts as a critical point of sale



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  for Defendant’s merchandise available for purchase in, from, and through Defendant’s physical

  stores (but not necessarily in the physical store Plaintiff intended to patronize). In addition, the

  Website allows the public to purchase gift cards for use online and in the physical stores and

  arrange in-store pickups and returns of merchandise purchased online.

          13.     The Website also services Defendant’s physical stores by providing information on

  available products, services, tips and advice, editorials, sales campaigns, events, and other

  information that Defendant is interested in communicating to its customers.

          14.     Because the Website allows the public the ability to secure information about the

  locations of Defendant’s physical stores, purchase merchandise also available for purchase in and

  from the physical stores, purchase gift cards for use online and in the physical stores, arrange in-

  store pickups and returns of merchandise purchased online, and sign up for an emailer to receive

  exclusive online offers, benefits, invitations, and discounts for use online and in the physical stores,

  the Website has a nexus to, and is an extension of and gateway to, the goods, services, privileges,

  and advantages of Defendant’s physical stores, which are places of public accommodation under

  the ADA. As an extension of and service, privilege, and advantage provided by a place of public

  accommodation as defined under the ADA, the Website is an extension of the services, privileges,

  and advantages made available to the general public by Defendant at and through its brick-and-

  mortar locations and businesses. Furthermore, the Website is a necessary service and privilege of

  Defendant’s physical stores in that, as a point of sale for the stores, it enables users of the Website

  to make online purchases of Defendant’s merchandise that is also available for purchase from and

  in its physical stores (but not necessarily the physical store Plaintiff intended to patronize).

          15.     Because the public can view and purchase Defendant’s goods through the Website

  that are also offered for sale in Defendant’s physical stores, thus having the Website act as a point



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  of sale for Defendant’s products also sold in the physical stores, purchase gift cards to purchase

  merchandise online and in the physical stores, arrange in-store pickups and returns of merchandise

  purchased online, and sign up for an emailer to receive exclusive online offers, benefits,

  invitations, and discounts for use online and in the physical stores, the Website is an extension of,

  and gateway to the physical stores, which are places of public accommodation pursuant to the

  ADA, 42 U.S.C. §12181(7)(E). As such, the Website is a necessary service, privilege, and

  advantage of Defendant’s brick-and-mortar stores that must comply with all requirements of the

  ADA, must not discriminate against individuals with visual disabilities, and must not deny those

  individuals the same full and equal access to and enjoyment of the goods, services, privileges, and

  advantages afforded the non-visually disabled public both online and in the physical stores.

         16.     At all times material hereto, Defendant was and still is an organization owning,

  operating, and/or controlling the Website. Since the Website is open to the public through the

  internet, by this nexus the Website is an intangible service, privilege, and advantage of Defendant’s

  brick-and-mortar stores that must comply with all requirements of the ADA, must not discriminate

  against individuals with visual disabilities, and must not deny those individuals the same full and

  equal access to and enjoyment of the goods, services, privileges, and advantages as afforded the

  non-visually disabled public both online and in the physical stores. As such, Defendant has

  subjected itself and the Website to the requirements of the ADA.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers are removed or remedied, one or

  more of Defendant’s physical stores (including the store located at 1801 NW 117th Avenue,

  Sweetwater, Florida), and to search for the brick-and-mortar stores, check store hours and

  merchandise pricing, purchase merchandise, purchase gift cards, arrange in-store pickups and



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  returns of merchandise purchased online, and sign up for an emailer to receive exclusive offers,

  benefits, invitations, and discounts for use at the Website or in Defendant’s physical stores.

         18.     The opportunity to shop and pre-shop Defendant’s merchandise, purchase gift

  cards, arrange in-store pickups and returns of merchandise purchased online, and sign up for an

  emailer to receive exclusive online offers, benefits, invitations, and discounts for use both online

  and in the physical stores from his home are important and necessary accommodations for Plaintiff

  because traveling outside of his home as a visually disabled individual is often a difficult,

  hazardous, frightening, frustrating, and confusing experience. Defendant has not provided its

  business information in any other digital format that is accessible for use by blind and visually

  disabled individuals using screen reader software.

         19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his store visits and to compare merchandise, prices, services, sales, discounts, and promotions.

  Plaintiff may look at several dozens of sites to compare features, discounts, services, promotions,

  and prices.

         20.     Beginning in May 2023, Plaintiff attempted on a number of occasions to utilize the

  Website to browse through the merchandise and online offers to educate himself as to the

  merchandise, sales, services, discounts, and promotions being offered, learn about the brick-and-

  mortar stores, check store hours, and check merchandise pricing with the intent to make a purchase

  through the Website or in one of the physical stores.

         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent free and full use by blind and visually disabled individuals

  using keyboards and available screen reader software. These access barriers are pervasive, one or



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  more of which were experienced by Plaintiff and, as confirmed by Plaintiff’s expert, include the

  following (with reference to the Web Content Accessibility Guidelines (“WCAG”) 2.1 Level A

  and AA):

         a)      Version A Guideline 1.2.1 – Audio-only and Video-only (Pre-recorded). An

  instructional video is available in the image gallery of the 'GLOSTAD' product page. After

  pressing the Play button, then the video starts immediately, but an announcement is not made, and

  the video does not have sound so users are not aware that anything happened. Narration is not

  available nor is an accessible alternative such as a full text alternative which will prevent some

  users from accessing this content.

         b)      Version Guideline 1.3.1 – Info and Relationships. The “compare images slider” is

  announced; however, each time it is moved only a number is announced. Screen reader users will

  be unable to discern what actions are occurring on the page when the slider is moved.

         c)      Version A Guideline 1.3.2 – Meaningful Sequence. The focus order in the

  “Children's Sleep 3+ years” buying guide is not sequential in some cases. For example, after the

  “MINNEN” product information shown in the middle of page 2 is announced, the next five arrow

  key presses are announced as only "1 2 3 5 4." This appears to be the numbers from the diagram

  at the top of the page 2, but they are announced out of order and without context. After these

  numbers are announced, then the heading for page 3 is announced.

         d)      Version A Guideline 1.3.3 – Sensory Characteristics. When a user adds an item

  from the “Related Products” section of the Cart window, a brief animation is displayed to show

  that the item is being added and then a checkmark icon is displayed to show that the item was

  successfully added to the cart. Neither the animation nor the checkmark is announced. Users do

  not hear that the add button was selected or that the item was added to the cart.



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         e)      Version A Guideline 2.5.3 – Label in Name. The Scroll bars under the “Everyday

  Low Prices” and “Right Now at Ikea” sections on the homepage are not labeled. Each is

  announced only as "clickable 99."

         f)      Version A Guideline 3.3.2 – Labels or Instructions. The more information or “I”

  button on the “Telephone Number” field on the checkout page is not labeled. It is announced only

  as "button."

         g)      Version A Guideline 4.1.2 – Name, Role, Value. The more information button,

  represented by the “I” icon on the Gift Registry page is not labeled. It is announced as only "blank"

  when a user tabs to it.

         h)      Version AA Guideline 4.1.3 – Status Messages. A confirmation message is

  displayed and the Wishlist button changes color when a user successfully adds an item to their

  wishlist, but a confirmation message is not announced.

         22.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the

  Website. However, Plaintiff was unable to do so because no such link or notice, statement, or

  policy existed on the Website.

         23.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same shopping experience, with the same

  access to the merchandise, sales, discounts, and promotions, as provided at the Website and in the

  physical stores as the non-visually disabled public.

         24.     Plaintiff desires and intends in the near future once the Website’s access barriers

  are removed or remedied to patronize one or more of Defendant’s physical stores and to use the



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  Website, but he is presently unable to do so as he is unable to effectively communicate with

  Defendant due to his blindness and the Website’s access barriers. Thus, Plaintiff and others who

  are blind and with visual disabilities will suffer continuous and ongoing harm from Defendant’s

  intentional acts, omissions, policies, and practices as set forth herein unless properly enjoined by

  this Court.

          25.     Because of the nexus between Defendant’s retail stores and the Website, and the

  fact that the Website clearly provides support for and is connected to Defendant’s retail stores for

  its operation and use, the Website is an intangible service, privilege, and advantage of Defendant’s

  brick-and-mortar stores that must comply with all requirements of the ADA, must not discriminate

  against individuals with disabilities, and must not deny those individuals the same full and equal

  access to and enjoyment of the goods, services, privileges, and advantages as afforded the non-

  visually disabled public both online and in the physical stores, which are places of public

  accommodation subject to the requirements of the ADA.

          26.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          27.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          28.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          29.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.



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         30.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

         31.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

         32.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

         33.     Defendant has not created and instituted a useful or effective Specialized Customer

  Assistance line or service or email contact mode for customer assistance for the visually disabled.

         34.     Defendant has not created and instituted on the Website a useful or effective page

  for individuals with disabilities, nor displayed a proper link and information hotline, nor created a

  proper information portal explaining when and how Defendant will have the Website, applications,

  and digital assets accessible to the visually disabled and blind communities.

         35      The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

  2.0 Level AA or higher versions of web accessibility.

         36.     Defendant has not disclosed to the public any intended audits, changes, or lawsuits

  to correct the inaccessibility of the Website to visually disabled individuals who want the safety

  and privacy of purchasing Defendant’s merchandise offered on the Website and in the physical

  stores from their homes.

         37.     Defendant thus has not provided full and equal access to, and enjoyment of, the

  goods, services, facilities, privileges, advantages, and accommodations provided by and through

  the Website and the physical stores in contravention of the ADA.

         38.     Public accommodations under the ADA must ensure that their places of public

  accommodation provide effective communication for all members of the general public, including

  individuals with visual disabilities such as Plaintiff.



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            39.   The broad mandate of the ADA is to provide an equal opportunity for individuals

  with disabilities to participate in and benefit from all aspects of American civic and economic life.

  That mandate extends to internet shopping websites such as the Website at issue in the instant

  action.

            40.   Defendant is, and at all relevant times has been, aware of the barriers to effective

  communication within the Website which prevent individuals with visual disabilities from the

  means to comprehend information presented therein.

            41.   Defendant is, and at all relevant times has been, aware of the need to provide full

  access to all visitors to the Website.

            42.   The barriers that exist on the Website result in discriminatory and unequal treatment

  of individuals with visual disabilities, including Plaintiff.

            43.   Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with the Website’s access and operation.

            44.   Notice to Defendant is not required because of Defendant’s failure to cure the

  violations.

            45.   Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

  U.S.C. §§2201 and 2202.

            46.   Plaintiff has retained the undersigned attorneys to represent him in this case and

  has agreed to pay them a reasonable fee for their services.

                              COUNT I – VIOLATION OF THE ADA

            47.   Plaintiff re-alleges paragraphs 1 through 46 as if set forth fully herein.



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         48.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

  the ADA and thus is subject to the ADA.

         49.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

  because it provides the general public with the ability to locate and learn about Defendant’s stores,

  purchase merchandise that is also available for purchase in and from the physical stores, purchase

  gift cards for use both online and in the physical stores, arrange in-store pickups and returns of

  merchandise purchased online, and sign up for an emailer to receive exclusive online offers,

  benefits, invitations, and discounts for use both online and in the physical stores. The Website

  thus is an extension of, gateway to, and intangible service, privilege, and advantage of Defendant’s

  physical stores. Further, the Website serves to augment Defendant’s physical stores by providing

  the public information about the stores and by educating the public as to Defendant’s available

  merchandise sold through the Website and in the physical stores.

         50.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

  discrimination to deny individuals with disabilities or a class of individuals with disabilities an

  opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

  or accommodation, which is equal to the opportunities afforded to other individuals.

         51.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”




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         52.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps, as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

         53.     Defendant’s Website must comply with the ADA, but it does not as specifically

  alleged hereinabove and below.

         54.     Because of the inaccessibility of the Website, individuals with visual disabilities

  are denied full and equal access to and enjoyment of the goods, information, and services that

  Defendant has made available to the public on the Website and in the physical stores in violation

  of 42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

         55.     The website was subsequently visited by Plaintiffs expert in June 2023 and the

  expert determined that many of the same access barriers that Plaintiff had initially encountered, as

  well as numerous additional access barriers, existed. Despite being a defendant in prior ADA

  accessibility lawsuits, one or more of which likely resulted in a confidential settlement agreement

  that obligated Defendant to fully remediate the Website, Defendant has made insufficient material

  changes or improvements to the Website to enable its full use and enjoyment by, and accessibility

  to, blind and visually disabled persons such as Plaintiff. Defendant has not disclosed to the public

  any intended audits, changes, or lawsuits to correct the inaccessibility of the Website to visually

  disabled individuals, nor has it posted on the Website a useful or effective “accessibility” notice,

  statement, or policy to provide blind and visually disabled person such as Plaintiff with a viable



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  alternative means to access and navigate the Website. Defendant thus has failed to make

  reasonable modifications in its policies, practices, or procedures when such modifications are

  necessary to afford goods, services, facilities, privileges, advantages, or accommodations to

  individuals with disabilities, in violation of 28 C.F.R. §36.302.

         56.     More violations may be present on other pages of the Website, which can and will

  be determined and proven through the discovery process in this case.

         57.     There are readily available, well-established guidelines on the internet for making

  Websites accessible to the blind and visually disabled. These guidelines have been followed by

  other large business entities in making their websites accessible. Examples of such guidelines

  include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

  performed using a keyboard. Incorporating such basic components to make the Website accessible

  would neither fundamentally alter the nature of Defendant’s business nor would it result in an

  undue burden to Defendant.

         57.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

  access to the Website by individuals such as Plaintiff with visual disabilities who require the

  assistance of interface with screen reader software to comprehend and access internet websites.

  These violations within the Website are ongoing.

         58.     The ADA requires that public accommodations and places of public

  accommodation ensure that communication is effective.

         59.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

  text, and video-based telecommunications products and systems”.               Indeed, 28 C.F.R.

  §36.303(b)(2) specifically states that screen reader software is an effective method of making

  visually delivered material available to individuals who are blind or have low vision.



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         60.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

  appropriate auxiliary aids and services where necessary to ensure effective communication with

  individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

  in accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

         61.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations, and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.

         62.     As alleged hereinabove, the Website has not been designed to interface with the

  widely and readily available technologies that can be used to ensure effective communication, and

  thus violates the ADA.

         63.     As a direct and proximate result of Defendant’s failure to provide an ADA

  compliant Website, with a nexus to its brick-and-mortar locations, Plaintiff has suffered an injury

  in fact by being denied full access to, enjoyment of, and communication with Defendant’s Website

  and its physical stores.

         64.     Because of the inadequate development and administration of the Website, Plaintiff

  is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

  ongoing disability discrimination.

         65.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff appropriate and necessary injunctive relief, including an order to:

         a) Require Defendant to adopt and implement a web accessibility policy to make publicly

  available and directly link from the homepage of the Website to a functional statement as to the



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  Defendant’s policy to ensure persons with disabilities have full and equal access to and enjoyment

  of the goods, services, facilities, privileges, advantages, and accommodations of the physical stores

  through the Website.

         b) Require Defendant to take the necessary steps to make the Website readily accessible

  to and usable by blind and visually disabled users, and during that time period prior to the

  Website’s being made readily accessible, provide an alternative method for individuals with visual

  disabilities to access the information available on the Website until such time that the requisite

  modifications are made, and

         c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

  visual disabilities will be able to effectively communicate with the Website for purposes of

  viewing and locating Defendant’s physical stores and becoming informed of and purchasing

  Defendant’s merchandise, and during that time period prior to the Website’s being designed to

  permit individuals with visual disabilities to effectively communicate, to provide an alternative

  method for individuals with visual disabilities to effectively communicate for such goods and

  services made available to the general public through the Website and the physical stores.

         66.     Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

  pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

  for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

  services.

         WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

         A. A declaration that Defendant’s Website is in violation of the ADA;




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        B. An Order requiring Defendant, by a date certain, to update the Website, and continue

           to monitor and update the Website on an ongoing basis, to remove barriers in order that

           individuals with visual disabilities can access, and continue to access, the Website and

           effectively communicate with the Website to the full extent required by Title III of the

           ADA;

        C. An Order requiring Defendant, by a date certain, to clearly display the universal

           disabled logo within the Website, wherein the logo 1 would lead to a page which would

           state Defendant’s accessibility information, facts, policies, and accommodations. Such

           a clear display of the disabled logo is to ensure that individuals who are disabled are

           aware of the availability of the accessible features of the Website;

        D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a website accessibility coordinator, a website application

           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;




  1
                    or similar.
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        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform

           all web content and services with ADA accessibility requirements and applicable

           accessibility guidelines;

        I. An Order directing Defendant, by a date certain and at least once every three months

           thereafter, to conduct automated accessibility tests of the Website to identify any

           instances where the Website is no longer in conformance with the accessibility

           requirements of the ADA and any applicable accessibility guidelines, and further

           directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

           counsel for review;

        J. An Order directing Defendant, by a date certain, to make publicly available and directly

           link from the Website homepage, a statement of Defendant’s Accessibility Policy to

           ensure the persons with disabilities have full and equal enjoyment of the Website and

           shall accompany the public policy statement with an accessible means of submitting

           accessibility questions and problems;

        K. An award to Plaintiff of his reasonable attorney’s fees, costs and expenses; and

        L. Such other and further relief as the Court deems just and equitable.




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        DATED: July 21, 2023.



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